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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION

  BENJAMIN BARKER,                                )
                                                  )
                Plaintiff,                        )
                                                  )
  v.                                              )        CIVIL ACTION FILE NO.
                                                  )         8:16-cv-00546-VMC-AEP
  WELLS FARGO BANK, N.A.,                         )
                                                  )
                Defendant.                        )


                                   NOTICE OF SETTLEMENT

            COMES NOW defendant Wells Fargo Bank, N.A. ("Defendant"), by and

  through its undersigned counsel, and hereby informs the Court that a settlement of the

  present matter has been reached as to all claims of plaintiff Benjamin Barker against

  Defendant.

            Defendant, therefore, requests that this Honorable Court vacate all dates currently

  set on calendar for the present matter and give the parties 60 days to file the necessary

  dismissal papers.

            Respectfully submitted this 9th day of May, 2016.

                                              /s/ R. Frank Springfield
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                                              WELLS FARGO BANK, N.A.



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                             CERTIFICATE OF SERVICE

          I hereby certify that on this 9th day of May, 2016, I electronically filed the
  foregoing with the Clerk of the Court using the CM/ECF system, which will send
  notification of such filing to the following:

                                Christopher W. Boss, Esq.
                            9887 Fourth Street North, Suite 202
                                 St. Petersburg, FL 33702
                             cpservice@protectyourfuture.com

                                     Peter John Grilli
                                     Peter J. Grilli, PA
                                    3001 W Azeele St
                                 Tampa, FL 33609-3138
                                peter@grillimediation.com

        I hereby certify that I have mailed by United States Postal Service the foregoing
  document to the following non-CM/ECF participants: N/A                       .


                                             /s/ R. Frank Springfield
                                             R. Frank Springfield (FL Bar # 0010871)




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